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CAROLINE HERRLING,
Petitioner,
V.
CITIBANK N.A.,
Respondent.

 

Dated this 3rd day of March, 2021.

 

JS-6

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

Case No. CV 20-6989 FMO (AFMx)

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JUDGMENT
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Pursuant to 9 U.S.C. § 13 and the Court’s Order Re: Pending Motions, issued
contemporaneously with the filing of this Judgment, IT |S ADJUDGED that judgment is entered
in favor of respondent Citibank N.A. against petitioner Caroline Herrling. The arbitration award

in JAMS Case No. 1210036436 is confirmed. The parties shall bear their own fees and costs.

/s/
Fernando M. Olguin
United States District Judge

 

 
